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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

V. : Criminal Action No.: 20-106 (RC)
LIRIM SYLEJMANI, | Re Document No.; 21
Defendant. :
ORDER

GRANTING DEFENDANT’S EMERGENCY MOTION FOR TRANSFER

Defendant Lirim Sylejmani moves for transfer from Northern Neck Regional Jail to
either Alexandria Detention Center or another facility that will provide him halal, or at least
kosher, food. Emergency Mot. Def.’s Transfer, ECF No. 21. The Government takes no position
on the motion and defers to the U.S. Marshals Service and this Court. /d. at 3. For the reasons
given in Sylejmani’s motion regarding his dietary needs, the motion is GRANTED. The Court
understands from the U.S. Marshals Service that Alexandria is not currently an option for
Sylejmani but that he could be transferred to USP Lewisburg and Lewisburg can accommodate
his dietary needs. Accordingly, it is hereby:

ORDERED that the U.S. Marshals Service shall transfer Sylejmani to USP Lewisburg in

a timely manner.

SO ORDERED. uf,
# a CA

Dated: 62 / (J i RR RUBOLPH CONTRERAS

United States District Judge

 

 
